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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                           Chapter 11

BAY CIRCLE PROPERTIES, LLC, et al.,              Case No.: 15-58440-wlh
                                                 (Jointly Administered)
           Debtors.


                      EMERGENCY MOTION TO RECHEDULE HEARING

           COME NOW SEG Gateway, LLC (“SEG”) and Good Gateway, LLC (“Good Gateway”,

and collectively with SEG, “Gateway”), and file this Emergency Motion to Reschedule Hearing

seeking an order to reschedule the hearing on Debtor Sugarloaf Centre, LLC’s (“Sugarloaf”)

Motion to Dismiss currently noticed for August 30, 2018. Dkt. No. 100.1 Sugarloaf filed the

notice of hearing on July 25, 2018, with the knowledge that on June 20, 2018, more than a month

prior, Judge Williamson, Chief Judge of the United States Bankruptcy Court for the Middle

District of Florida, Tampa Division, entered an Order Scheduling Trial in the matter In re Nilhan

Financial, LLC (Bankr. M.D.Fla. 8:17-bk-03597-MGW), a chapter 7 bankruptcy involving an

affiliate entity of Mr. Chuck Thakkar, principal of the Debtors here. A true and correct copy of

the Order Scheduling Trial is attached hereto as Exhibit A.

           On August 20, 2018, only ten (10) days prior to the trial in the Nilhan Financial

bankruptcy proceeding in Florida, Niloy Thakkar, the son of Mr. Chuck Thakkar, filed an

Emergency Motion to Continue August 30, 2018 Trial (the “Nilhan Motion to Continue”)

alleging, in relevant part:



1
  The Motion to Dismiss was docketed only in Sugarloaf’s bankruptcy case, see In re Sugarloaf
Centre, LLC, No. 15-58442 (Bankr. N.D. Ga. filed July 25, 2018), despite the Court’s order of
joint administration, see Dkt. No. 38.


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                  12.    Additionally, the manager of debtor at the time of the 2008
                  loan was Chuck Thakkar, Thakkar’s father. Thakkar expects C.
                  Thakkar to be an important witness at trial. On August 17, 2018,
                  undersigned counsel received a letter from C. Thakkar’s attorney
                  in Atlanta stating that he has a superior commitment and must be
                  in court in Atlanta on August 30. The letter is attached hereto as
                  Exhibit A. While undersigned also represents C. Thakkar,
                  individually, undersigned does not represent him in the matter in
                  Atlanta, and was unaware of the conflict until C. Thakkar was
                  informed that his appearance was necessary for the motion on or
                  about August 15, the day of his deposition in this case.

 Nilhan Motion to Continue, Dkt. No. 248, at 2-3, Bankr. M.D. Fla. 8:17-bk-03597-MGW

(emphasis added).

           The August 30, 2018 trial in the Nilhan Financial bankruptcy is on Gateway’s and the

Florida Chapter 7 Trustee’s Joint Motion to Approve Settlement Agreement and, as noted above,

has been set since June 20, 2018. Sugarloaf’s principal, Mr. Chuck Thakkar, was present for

several hearings in the Florida action and was well aware of the trial date.

           Further, as the Court will recall, the Court previously denied a motion to dismiss the

Sugarloaf case, which asserted similar grounds as the current Motion to Dismiss before the

Court. See Dkt. Nos. 755, 786. The Court denied the motion because it determined it was in the

interest of the estate and the creditors to continue to administer the estates of all the related

entities. See Order Denying Sugarloaf Centre, LLC’s Motion to Dismiss Chapter 11 Case, Dkt.

No. 786, a true and correct copy of which is attached hereto as Exhibit B.

           The undersigned counsel conferred with counsel for Debtors and requested consent to a

continuance of the hearing on the Motion to Dismiss. As of the filing of this Motion, Debtors’

counsel had not received authority to consent to a continuance.

           In order to eliminate any scheduling conflict between the matters noticed in the two

bankruptcy matters, Gateway respectfully requests that the hearing on the Motion to Dismiss be




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delayed until the hearing on disclosure statements filed by the joint debtors in the instant case,

which Debtors, Gateway, and the United States Trustee have agreed will be continued until some

date in mid-October (or to some other date agreed to by the parties or set by the Court) to (i)

permit Gateway the opportunity to receive and review certain materials subject to the Court’s

recent orders on Gateway’s several Rule 2004 Motions and (ii) permit Debtors an opportunity to

make certain revisions to their Disclosure Statements.

           Respectfully submitted this 21st day of August, 2018.


                                                               /s/ Walter E. Jones
                                                               Walter E. Jones
                                                               Georgia Bar Number 163287

                                                               Attorney for Good Gateway, LLC
                                                               and SEG Gateway, LLC

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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on August 21, 2018, I electronically filed the foregoing

Emergency Motion to Reset Hearing with the Clerk of the Court by using the Court’s CM/ECF

system, which will serve a notice to all counsel of record of by placing a copy of the same in the

United States mail, postage prepaid to the attached certified matrix:



                                                             /s/ Walter E. Jones
                                                             Walter E. Jones
                                                             Georgia Bar Number 163287




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